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DAVID J KUIPER and                                                                                a
DEB RA     KUIPER

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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

 IN RE:                                               Case No.19-20171-EPK
                                                      Chapter 7
 DAVID J KUIPER and DEBORAH L
 KUIPER,

                 Debtors.


                             AFFIDAVIT IN SUPPORT OF
                     MOTION FOR RELIEF FROM AUTOMATIC STAY


STATE OF SOUTH CAROLINA
COUNTY OF YORK

           BEFORE ME, a notary public duly authorized to take acknowledgements and administer
oaths, on this day personally appeared Sasha L Anderson                        after having been duly
cautioned and sworn under oath, deposes and states as follows:
                 I am making this Affidavit in connection with and in support of the Motion for
Relief from Automatic Stay filed by Wells Fargo Bank, N.A., a secured creditor in the above-
styled bankruptcy proceeding.
                 Wells Fargo Bank, N.A. ("Wells Fargo") is the holder of the subject Note and
Mortgage.
                 I am a Vice President Loan Documentation (Job Title) for Wells Fargo. In said
capacity, I have access to Wells Fargo's computerized account records and have personal
knowledge of the facts stated herein. I make this affidavit on personal knowledge, based on my review
of the records of Wells Fargo, as they relate to the loan in this matter. The business records reviewed
were made at or near the time of the transactions described in them, by or from information transmitted
by a person with knowledge of the transactions. These records are kept in the course of Wells Fargo's
regularly conducted business activities, and it is Wells Fargo's regular practice to make and keep such
records.
                 I have authority to make this affidavit. Further, I have personally reviewed the
records of Wells Fargo and make this Affidavit based upon personal knowledge obtained therein.
                 I am familiar with the loan made on June 29, 2012 by Wells Fargo Bank, N.A. to
David J Kuiper and Deborah L Kuiper in the original principal amount of $268,956.21 ("the




                                                                                        Exhibit B
                  Case 19-20171-EPK         Doc 21        Filed 10/17/19            Page 29 of 35

Affidavit of Indebtedness
Case No. 19-20171-EPK


Loan"), which is the basis for Movant's secured status. The property located at 1938 SW
Winners Dr, Palm City, Florida 34990 (the "Property").
                     Wells Fargo maintains a computerized account of the Loan including all receipts
and disbursements, charges, and credits.
                     The amount of indebtedness and the nature and extent of default set forth in the
Motion for Relief from Automatic Stay is derived from the computerized account of the Loan.
                     As of October 15, 2019, the Note and Mortgage payments are in default as
Debtors, David J Kuiper and Deborah L Kuiper, are contractually due for the April 1, 2019,
payment, and have failed to timely meet and satisfy the payment requirements with respect to the
obligations set forth in the Note.
                     As of October 15, 2019, on examination of these business records, it is
determined that there is now due and owing upon the Note and Mortgage and outstanding
principal balance of $232,853.35, plus advances made, attorneys' fees and costs, and interest
accruing thereon in accordance with the loan documents.
                     This Affidavit is signed under penalty of perjury as being true and correct based
on my personal knowledge of Wells Fargo and Movant's books and business records, and is
intended to show that there is available competent testimony which can be introduced at
evidentiary hearing if necessary.
          FURTHER AFFIANT SAYETH NAUGHT.

                                                                      Sas 1L Anderson
                                                                      Vice President Loan Documentation
                                                                      Wells Fargo Bank, N.A.
                                                                      October 16, 2019

State of South Carolina)
County of York)

Sworn/affirmed to and subscribed before me on this 16th day of October, 2019. Personally known [J
or produced identification [X].
Type of identification produced:Driver's License.
       (Signature of Notary Public)
       My commission expires                                   7/ oaol
       Notary seal



                                                      John Paul Quigg
                                           Notary Public, State of South Carolina
                                           My Commission Expires August 27, 2029



                                                                                               Exhibit B
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                                                                             EXHIBIT C
Martin County, Florida - Laurel Kelly, C.F.A                                                   Page 1 of 1
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Martin County, Florida - Laurel                              generated on 8/30/2019 8:05:24 AM EDT
Kelly, C.F.A
Summary
                                                                               Market Total Website
  Parcel ID        Account #      Unit Address
                                                                               Value        Updated
  11-38-40-004-000-
                    13311         1938 SW WINNERS DR, PALM CITY                $265,030     8/24/2019
  00620-9

                                             Owner Information
  Owner(Current)                            KUIPER DAVID J & DEBORAH L
  Owner/Mail Address                        1938 SW WINNERS DR
                                            PALM CITY FL 34990
  Sale Date                                 8/31/1998
  Document Book/Page                        1332 1487
  Document No.
  Sale Price                                169500

                                            Location/Description
  Account #         13311                                       Map Page No.        K-11A
  Tax District      5005                                        Legal Description   CRANE CREEK
  Parcel Address    1938 SW WINNERS DR, PALM CITY                                   COUNTRY CLUB
                                                                                    PHASE III LOT 62
  Acres             1.3500
                                                                NOTE: Legal description as shown is
                                                                not to be used on legal documents.
                                                                The legal description is intended for
                                                                general information only. The
                                                                Property Appraiser assumes no
                                                                responsibility for the consequences of
                                                                inappropriate uses or interpretations
                                                                of the legal description.
                        Parcel Type
  Use Code             0100 Single Family
  Neighborhood         411010 Crane Creek @ Martin Downs



                                       Assessment Information
  Market Land Value                                  $140,000
  Market Improvement Value                           $125,030
  Market Total Value                                 $265,030




                                                                                          Exhibit D
http://fl-martin-appraiser.governmax.com/propertymax/GRM/tab_parcel_v1002_FLMartin... 8/30/2019
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


IN RE:                                                Case No.19-20171-EPK

DAVID J        KUIPER       and   DEBORAH         L Chapter 7
KUIPER,


            Debtors.
______________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
                      IN FAVOR OF WELLS FARGO BANK, N.A.
                 (Re: 1938 SW Winners Drive, Palm City, Florida 34990)


         THIS CASE came before the Court on the Motion for Relief from Automatic Stay [D.E.
#------] (the “Motion”) filed by Wells Fargo Bank, N.A. (“Secured Creditor”). The Secured
Creditor, by submitting this form of order, represents that the Motion was served on all parties
required by Local Rule 4001-1, that the 14-day response time provided by that rule has expired,
that no one has filed, or served on the Secured Creditor a response to the Motion, and that the
relief to be granted in this order is the identical relief requested in the Motion. Therefor, it is:
         ORDERED:
         1.     Secured Creditor’s Motion for Relief from Automatic Stay is granted.



                                                                                          Exhibit E
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       2.        The automatic stay imposed by 11 U.S.C. §362 is terminated with respect to real
property located at 1938 SW Winners Drive, Palm City, Florida 34990, (the “Property”)
legally described as:
                 LOT 62, CRANE CREEK COUNTRY CLUB, PHASE III,
                 ACCORDING TO THE MAP OR PLAT THEREOF AS
                 RECORDED IN PLAT BOOK 7, PAGE 74, PUBLIC
                 RECORDS OF MARTIN COUNTY, FLORIDA.

       3.        This Order Lifting the Automatic Stay is entered for the sole purpose of allowing
Secured Creditor to pursue its lawful in rem remedies as to the Property and Secured Creditor
shall neither seek nor obtain an in personam judgment against Debtor(s).
       4.        All communications sent by Secured Creditor in connection with proceeding
against the Property including, notices required by state law and communications to offer and
provide information with regard to a potential Forbearance Agreement, Loan Modification,
Refinance Agreement, Loss Mitigation Agreement or other Loan Workout, may be sent directly
to Debtor(s).
       5.        The Court in its discretion waives the fourteen (14) day stay of the Order Granting
Motion for Relief from Stay pursuant to Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure.
                                            ###
Order submitted by:
Jennifer Laufgas
Attorney for Secured Creditor
Aldridge Pite, LLP
Fifteen Piedmont Center 3575 Piedmont Road, N.E., Suite 500 Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (619) 590-1385
Email: JLaufgas@aldridgepite.com
Jennifer Laufgas is directed to serve copies of this order on the parties listed and file a
certificate of service.

DEBTORS ATTORNEY
(via electronic notice)

Eric N Klein
4800 N Fed Hwy Bldg B #307
Boca Raton, FL 33431
enk@kleinattorneys.com




                                                                                      Exhibit E
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DEBTORS

David J Kuiper
Deborah L Kuiper
1938 SW Winners Drive
Palm City, FL 34990

TRUSTEE
(via electronic notice)

Deborah Menotte
POB 211087
West Palm Beach, FL 33421
menottetrustee@gmail.com

UNITED STATES TRUSTEE
(via electronic notice)

Department of Justice
Southern District of Florida - West Palm Beach Division
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
USTPRegion21.MM.ECF@usdoj.gov




                                                                                 Exhibit E
